              IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


JEFFREY CLAYTON KANDIES )
                              )
                  Petitioner, )
                              )
        v.                    )                  FILE NO. 1:99CV00764
                              )
KEITH LASSITER, Warden,       )
Central Prison                )
Raleigh, North Carolina,      )
                              )
                 Respondent.  )

                _________________________________________

                   RESPONSE TO PETITIONER’S MOTION
                    TO STAY AND HOLD IN ABEYANCE
                    PETITIONER’S PETITION FOR WRIT
                           OF HABEAS CORPUS
                             Fed. R. Civ. P. 72
                _________________________________________

      NOW COMES THE RESPONDENT, by and through his undersigned counsel,

to make the following Response in Opposition to the Petitioner’s Motion to Stay and

Hold in Abeyance his Petition for Writ of Habeas Corpus (Docket Entry No. 59),

which was filed on March 1, 2013. Petitioner does not present any circumstances

sufficient for this Court to allow his Motion for Stay and Abeyance, and therefore, the

Motion should be denied. In support of this Response, Respondent presents the

following:




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                    Statement of the Case and Pertinent Facts

       Respondent dispenses with a full recitation of the long and tortured procedural

history of the present case. Briefly, Petitioner was convicted of the first-degree

murder and first-degree rape of four-year-old Natalie Osborne. Petitioner was

sentenced to death, and the North Carolina Supreme Court affirmed Petitioner’s

conviction and sentence. See State v. Kandies, 342 N.C. 419, 467 S.E.2d 67, cert.

denied, 519 U.S. 894 (1996). Petitioner’s case proceeded through state and federal

post-conviction review. The United States Supreme Court granted Petitioner’s

certiorari petition filed in that court following state and federal post-conviction

review, and remanded the case to the United States Court of Appeals for the Fourth

Circuit for consideration in light of Miller-El v. Dretke, 545 U.S. 231 (2005) (Miller-

El II), which further remanded the case to this Court. See Kandies v. Polk, 545 U.S.

1137 (2005). The Magistrate Judge allowed the parties to supplement the case record

with evidence that was not submitted to the state court; considered that evidence; and

on April 5, 2011, issued a Recommendation that Petitioner’s petition for writ of

habeas corpus be denied. (Docket No. 124) One day prior to the issuance of the

Recommendation, but apparently not in time to inform the Magistrate Judge’s

decision, the United States Supreme Court held in Cullen v. Pinholster,      U.S. ,

, 131 S. Ct. 1388, 1398 (2011), that federal habeas review “is limited to the record

that was before the state court that adjudicated the claim on the merits.” Petitioner

has objected to the Magistrate Judge’s Recommendation, and Respondent has

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responded to those Objections. The Court has requested that the parties file

supplemental briefing concerning the effects of Pinholster on the present case.

Respondent filed his brief on March 5, 2013.

      While Petitioner’s habeas action was pending in federal court, on August 11,

2009, the North Carolina General Assembly enacted N.C.G.S. §§ 15A-2010 through

-2012, i.e., the Racial Justice Act (original RJA). See Act of Aug. 11, 2009, 2009

N.C. Sess. Laws 464 (codified as N.C.G.S. §§ 15A-2010 to -2012) (amended &

repealed in part July 2, 2012).

      Petitioner filed a second MAR on or about August 4, 2010 in Superior Court,

Randolph County, this time seeking relief under the original RJA. (RJA MAR) In

addition to claims brought pursuant to the RJA, Petitioner sought relief pursuant to

the federal and North Carolina Constitutions.

      Effective July 2, 2012, the North Carolina General Assembly amended the RJA

(ARJA). Act of July 2, 2012, 2012 N.C. Sess. Law 136 (amending N.C.G.S. § 15A-

2011 & repealing N.C.G.S. § 15A-2012). The amendment, among other things,

clarified the scope of the RJA, confining it to the granting of relief only in cases

where a North Carolina death row defendant proves race is a “significant factor” in

“the defendant’s case”; required that as a condition for filing a defendant must

knowingly and voluntarily waive objection to receiving a life sentence as relief;

declared that statistical evidence alone was not sufficient for meeting the burden of

proof; and clarified that the ARJA does not in any way affect the procedures for filing

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MARs, “including the deadlines and grounds upon which a motion may be filed.”

Id. Like the original RJA, the ARJA in no way allowed for the bringing of federal

constitutional claims.

      On or about August 28, 2012, Petitioner filed an Amended MAR pursuant to

the ARJA (ARJA AMAR) in North Carolina Superior Court, Randolph County. In

his AMAR, Petitioner brought claims under the ARJA, as well as federal and state

constitutional claims. Both Petitioner’s MAR based upon the original RJA and his

AMAR based upon the ARJA remain pending in Superior Court.

      On March 1, 2013, Petitioner filed a Motion to Stay and Hold in Abeyance his

Petition for Writ of Habeas Corpus in this Court. Petitioner is asking the Court to

stay and abey this proceeding to allow Petitioner to file a third MAR1 in North

Carolina Superior Court based upon evidence gathered in furtherance of his RJA

MAR proceeding, as well as evidence allegedly recovered through the discovery

granted by this Court. Namely, Petitioner claims that through recent discovery he

uncovered evidence allegedly indicating that the prosecution’s strikes of some

prospective jurors, for which he cited as the basis the jurors’ criminal histories, was

ground in false information; historical evidence allegedly supporting his contention

that the prosecutor in his case had a pattern of striking African-American jurors; and



      Petitioner argues that he is seeking to file a second MAR in North Carolina
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Superior Court. Technically, this would be Petitioner’s third MAR, being that his
second MAR is the one he filed pursuant to the RJA.
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statistical evidence allegedly proving racial discrimination in jury selection.

                                      Argument

      This Court should deny Petitioner’s Motion to Stay and Abey his § 2254

proceeding. As noted above, Petitioner requests a stay of this proceeding, which has

been pending in federal court since 1999, to allow him to return to state court and file

a third MAR reraising a claim under Batson v. Kentucky, 476 U.S. 79 (1986), that

was previously adjudicated on the merits by the North Carolina Supreme Court, see

Kandies, 342 N.C. at 434-37, 467 S.E.2d at 75-76, and/or raising other federal

constitutional claims alleging racial discrimination in his trial.2

      Despite Petitioner’s argument to the contrary, it would be a complete waste of

judicial resources to grant his Motion to Stay. Simply stated, Petitioner is not entitled

to a stay, nor has he alleged anything supporting his argument to the contrary. This

is because, first and foremost, for the reasons stated in Respondent’s Supplemental

Brief filed March 5, 2013, Petitioner is precluded from relying on any of the evidence

uncovered via the discovery granted by this Court in accordance with the United

States Supreme Court’s holding in Cullen v. Pinholster,       U.S. , 131 S. Ct. 1388.

(See Docket No. 141) Second, to the extent Petitioner will raise a new claim alleging

racial discrimination, or will somehow raise a new Batson claim, in his soon-to-be-

filed successive MAR, those claims will be procedurally defaulted for the purposes


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       It is not entirely clear the exact contours of the claim or claims Petitioner
intends to raise in his third MAR.
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of this Court’s review if he later attempts to raise the claims in this Court. The North

Carolina Superior Court will find the successive MAR procedurally barred by North

Carolina’s mandatory, and adequate and independent, procedural bar statute,

N.C.G.S. §§ 15A-1419(a)(1), (a)(3), and (b). See N.C.G.S. §§ 15A-1419(a)(1), (a)(3),

& (b) (2011) (providing that claim shall be denied when defendant in adequate

position to have raised it on appeal or in a prior MAR but did not do so, absent cause

and prejudice or fundamental miscarriage of justice, i.e., actual innocence); see also

Rose v. Lee, 252 F.3d 676 (4th Cir.) (North Carolina’s post-conviction procedural bar

statute of section 15A-1419 is now mandatory), cert. denied, 534 U.S. 941 (2001);

Sharpe v. Bell, 593 F.3d 372, 377 (2010) (providing that section 15A-1419(a)(1) and

(a)(3) are independent and adequate state procedural bars); Lawrence v. Branker, 517

F.3d 700, 714 (4th Cir.) (same), cert. denied, 555 U.S. 868 (2008). The new claims

will therefore be procedurally defaulted for the purposes of federal habeas review, if

Petitioner attempts to later raise them in this proceeding. See Nickerson v. Lee, 971

F.2d 1125, 1127 (4th Cir. 1992) (“A federal court may not address the merits of a

habeas petition when the state court’s denial of a petition for collateral relief rested

on [an] independent and adequate state law ground of procedural default.”), cert.

denied, 507 U.S. 923 (1993), abrog’n on other grounds recog’d, Yeatts v. Angelone,

166 F.3d 255 (4th Cir. 1999).

      In arguing that there is good cause to stay the § 2254 proceeding, Petitioner

cites to several cases he claims supports his argument, most notably, Rhines v.

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Weber, 544 U.S. 269 (2005) and Gonzalez v. Wong, 667 F.3d 965 (9th Cir. 2011).

Neither of these cases, nor any other that Petitioner cites, actually supports his

arguments. In Rhines, the United States Supreme Court held that where a habeas

petition contains both exhausted and unexhausted claims, commonly referred to as

a mixed petition, good cause exist for the failure to exhaust, the claim plainly has

merit, and petitioner did not engage in “intentionally dilatory litigation tactics,” the

federal court should stay the habeas proceeding rather than dismiss it. 553 U.S. at

1535. Rhines is clearly inapplicable in the present proceeding. Petitioner’s petition

is not a mixed petition. At this point, only one of Petitioner’s claims is before the

Court, that being a Batson claim which has been fully exhausted in state court.

Moreover, any new claim would be procedurally defaulted for the reasons noted

above. And, for the reasons cited by the Magistrate Judge in his Recommendation,

even considering the evidence gathered during Petitioner’s federal habeas proceeding,

Petitioner’s Batson claim is meritless. (Docket No. 124) As such, Rhines does not

inform this Court’s decision here.3

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        It should also be noted that Rhines established an exception to what was the
previous general rule that § 2254 petitions with unexhausted claims should be
dismissed without prejudice to allow the habeas petitioner to return to state court.
544 U.S. at 273. The general rule to dismiss was established prior to the 1996
enactment of the Antiterrorism and Effective Death Penalty Act (AEDPA), which
contained a strict one-year deadline for filing § 2254 petitions. See 28 U.S.C. § 2244.
With such a strict deadline, dismissing certain § 2254 petitions as nonexhausted
would mean that the § 2254 petitions would be barred by the statute of limitations
upon being refiled. Thus, as a matter of fairness, the Court in Rhines allowed for
stays, rather than dismissal, under certain instances. Id. at 267. Of course, these type
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      Neither does the Ninth Circuit’s decision in Gonzalez. Therein, the circuit

court concluded that the case should be stayed while the petitioner therein returned

to state court to submit new evidence uncovered by the petitioner while his habeas

petition was pending in federal court. Gonzalez, 667 F.3d at 972. The evidence was

not previously discoverable. The court stayed the proceeding even though, pursuant

to Pinholster, it could not consider the new evidence. The Ninth Circuit concluded

that the stay was proper because the materials uncovered strengthened the petitioner’s

claim such that it potentially had merit. Id.

      Gonzalez provides no support for Petitioner’s argument. The case was decided

by the Ninth Circuit, and thus, this Court is not bound by the decision. Also, unlike

the evidence in Gonzalez, the evidence Petitioner relies upon supports the claims he

intends to raise and/or reraise in state court could have been uncovered and presented

in state court long before this Court granted discovery in the habeas action. See

discussion infra. Accordingly, Gonzalez, like Rhines, does not support Petitioner’s

argument that he is entitled to a stay.

      In addition, and equally as important, Petitioner is clearly barred from seeking

further relief in North Carolina state court, other than pursuing claims under the RJA.

North Carolina defendants are barred from filing successive MARs where in a

previous motion or on direct appeal, the grounds for relief in the successive motion

have already been adjudicated, or defendants had an opportunity to raise the


of concerns are not at issue in Petitioner’s case because it is not subject to dismissal.
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ground(s) previously but did not. N.C.G.S. § 15A-1419(a)(1-3). The procedural bars

in N.C.G.S. § 15A-1419 are mandatory. Id.; Rose, 252 F.3d 676. Thus, the North

Carolina Superior Court must deny successive MARs.

      If, however, a defendant can demonstrate good cause to excuse the above-noted

procedural bars and can demonstrate actual prejudice, or the failure to consider the

defendants’ claim will result in a miscarriage of justice, the Superior Court cannot bar

the successive MAR. N.C.G.S. § 15A-1419(b). Defendants show good cause only

where they establish by a preponderance of evidence that their “failure to raise the

claim . . .[was b]ased on a factual predicate that could not have been discovered

through the exercise of reasonable diligence in time to present the claim on a previous

State or federal postconviction review.” N.C.G.S. § 15A-1419(c)(3).

      “Good cause” is not shown when the factual or legal basis for a claim was

reasonably available to counsel at the time it should have been raised. Murray v.

Carrier, 477 U.S. 478, 488 (1986). "Cause" is not shown when competent counsel

could have raised a claim earlier but did not. Id. at 488. The mere fact that

competent counsel failed to recognize the factual or legal basis for the claim, or failed

to raise the claim despite recognizing it does not constitute good cause to excuse the

default. Id. Thus, when the factual or legal basis for the claim was reasonably known

to counsel at the time it should have been raised, the defendant fails to show “good

cause.”


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      Any new MAR Petitioner files in North Carolina Superior Court reraising his

Batson claim would clearly be barred by N.C.G.S. § 15A-1419(a)(2) because the

claim was previously adjudicated by the North Carolina Supreme Court on direct

review. To the extent that Petitioner would raise a non-Batson federal constitutional

claim alleging racial discrimination in his trial, see McCleksey v. Kemp, 481 U.S. 279

(1987) (rejecting constitutional claim of racial discrimination based upon race-of-

defendant and race-of-victim effects), such claims would also be barred because

Petitioner had an opportunity to, but did not, raise the claims on direct review. See

N.C.G.S. § 15A-1419(a)(3). Notably, Petitioner has already raised these claims and

presented much, if not all, of the evidence he claims he will present in a third MAR

in his RJA MAR and ARJA AMAR, which are still pending in North Carolina

Superior Court. Notably, the federal constitutional claims in Petitioner’s RJA MAR

and ARJA AMAR are procedurally barred pursuant to N.C.G.S. § 15A-1419(a).

      Petitioner argues that he has good cause to seek further relief of his conviction

via a successive MAR filed in state court. Petitioner contends that this is because the

factual predicate for the claims he intends to reraise or raise in the successive MAR

could not have been discovered through the exercise of reasonable diligence prior to

the passing of the RJA or the granting of discovery in this Court. As such, Petitioner

contends, he could not have submitted additional evidentiary support for the already

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raised and adjudicated Batson claim previously. Petitioner attempts to support his

contention with several arguments, none of which have merit. First, Petitioner argues

that he could not have previously developed the factual predicate he intends to

present in reraising his Batson claim or federal constitutional discrimination claim in

his third MAR because the state courts have continually refused his requests in

attempting to uncover that factual predicate supporting his Batson claim.

Specifically, Petitioner notes that he repeatedly sought criminal records for

prospective jurors during the jury selection at this trial, but the trial court refused his

requests. Petitioner alleges that he discovered the prospective jurors’ criminal records

only after this Court granted him discovery. Petitioner also notes that he asserted

during jury selection that the prosecutor had a history of excluding African-

Americans from juries, and he has presented in this Court evidence he alleges

supports that assertion. In addition to contending that the North Carolina trial court

denied Petitioner access to prospective jurors’ criminal records, Petitioner notes that

he was never given an evidentiary hearing or granted discovery during his post-

conviction proceedings. Petitioner argues that the evidence uncovered through

discovery in this Court and pursuant to the RJA filings was not previously available

to him in state court.

       Despite Petitioner’s arguments to the contrary, there is not good cause to

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excuse the state-court procedural bar of what will be his third MAR. See N.C.G.S.

§ 15A-1419(c)(3). As noted supra, Petitioner indicates that the so-called new

evidence was uncovered after the passing of the RJA and the grant of discovery by

this Court. Regarding the passing of the RJA and whether it provides good cause to

excuse a state procedural bar of claims, the issue is not whether subsequent legal

events made the claim easier to raise, the issue is whether at the time of the default

the claim was available at all. Smith v. Murray, 477 U.S. at 537 Only where a claim

is so novel that no tools were available to raise it earlier is cause for failing to raise

a claim earlier shown. Reed v. Ross, 468 U.S. 1 (1984).

      Here, the same federal and constitutional claims of alleged racial disparity

which Petitioner apparently intends to raise in a third MAR were available to be

raised on direct appeal. These claims were far from novel as these same claims have

been litigated for over two decades. See McCleksey v. Kemp, 481 U.S. 279 (rejecting

constitutional claim of racial discrimination based upon race-of-defendant and race-

of-victim effects). Claims of racial discrimination were available long before the

passing of RJA.

      Similarly, Petitioner’s contention that the evidence he intends to present in his

third MAR was only available after the passing of the RJA and this Court’s grant of

discovery is incorrect. The prospective jurors’ criminal records and any allegedly

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historical evidence of racial discrimination on the part of the State were available

prior to this Court’s grant of discovery and the passing of the RJA. Moreover, the

North Carolina state courts did not prevent Petitioner from pursuing or presenting any

of the above-noted information in state court. What Petitioner sought from the trial

court during jury selection was, specifically, the criminal records in the State’s

possession. See Kandies, 342 N.C. at 437-38, 467 S.E.2d at 76-77. The North

Carolina Superior Court did deny Petitioner’s request for disclosure of criminal

records possessed by the State that the prosecution used to challenge certain potential

jurors. However, as found by the North Carolina Supreme Court in the present case,

the Superior Court’s denial of Petitioner’s request was proper under North Carolina

statutory law.4 See State v. Kandies, 342 N.C. at 437-38, 467 S.E.2d at 77.

      Also, there is nothing to indicate that Petitioner could not have obtained the

perspective jurors’ criminal records prior to the time this Court ordered discovery.

Materials submitted by Petitioner establish that a paralegal for the Center for Death

Penalty Litigation, who has been providing assistance to one of Petitioner’s attorneys,



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       As noted by the Magistrate Judge in his Recommendation, the records that
were in the State’s possession no longer exist, and there is no evidence of bad faith
on the part of the State. (Docket No. 124 at 17-18) Those records cannot therefore
be used to establish discriminatory intent in the use of peremptory strikes in
Petitioner’s case.

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used a North Carolina Administrative Office of the Courts database to locate the

criminal records. (Docket No. 117, Ex. 4) According to the paralegal, she had used

the database for the past nine years to perform criminal record searches. (Id.) It

appears that the criminal records were thus available long before this Court ordered

discovery.

      The same could be said for Petitioner’s so-called historical evidence of racial

discrimination on the part of the prosecutor in Petitioner’s case. As noted by the

Magistrate Judge in his Recommendation, if there was such historical evidence,

"nothing prevented Petitioner from submitting the evidence to the trial court prior to

trial and seeking discovery at that point, or even from presenting any evidence he had

on this issue at the Batson hearing during trial." (Docket No. 124 at 15) In fact,

"Petitioner has never asserted that he was denied the opportunity to present such

historical evidence in the trial court." (Id.)

      Finally, Petitioner’s assertion that the state court did not grant him an

evidentiary hearing or discovery in his first state MAR proceeding in no way supports

his argument that the factual predicate for his new or reraised Batson claim, or any

other claim of intentional discrimination at trial, was not previously discoverable

through reasonable diligence. This is because Petitioner did not present any Batson

or other racial discrimination claim during his first state post-conviction proceeding.

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Therefore, there was no basis for him to have requested an evidentiary hearing or

discovery to unearth any evidence of racial discrimination in his trial.

      Staying the present case, which has been pending on federal habeas review for

well over a decade and is now ripe for final disposition in this Court, to allow

Petitioner to file a third MAR would be a colossal waste of judicial resources.

Although Rhines does not squarely apply here, it does indicate that stay and

abeyences in habeas proceedings should be rare, as to preserve the purpose of the

AEDPA to “reduce delays in the execution of state and federal criminal sentences,

particularly in capital cases.” Rhines, 544 U.S. at 276 (citation and internal quotation

marks omitted). There is no justification to delay Petitioner’s federal habeas

proceeding. This is primarily because the filing of the successive MAR for which

Petitioner seeks the stay will be outright rejected pursuant to a mandatory state

procedural bar. Therefore, this Court should deny Petitioner’s Motion to Stay the

present proceeding.

      Petitioner does not directly request that this Court stay the present proceeding

to allow time for the state court to resolve his presently pending RJA MAR and

ARJA AMAR. However, it is more than implied in his argument, especially

considering that, despite Petitioner’s contentions to the contrary, a third MAR would

so clearly be procedurally barred. To the extent that Petitioner is actually arguing that

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this proceeding should be stayed pending the resolution of his RJA claims in state

court, or that he makes such an argument in response to this filing, such a stay should

be denied. The RJA and ARJA are state statutory creations, and involve state law

matters only. Therefore, Petitioner’s claims brought pursuant thereto in state court

will not be cognizable on federal habeas review. See Estelle v. McGuire, 502 U.S.

62, 67 (1991) (“[F]ederal habeas corpus relief does not lie for errors of state law.”).

      Moreover, Petitioner is procedurally barred from bringing the federal

constitutional claims regarding his death sentence in North Carolina state court that

he has raised in his RJA MAR and ARJA AMAR, as he clearly had an opportunity

to bring such claims in his direct appeal and/or in his original MAR brought prior to

the enactment of the RJA. See N.C.G.S. § 15A-1419(a) (1) & (3) (providing that

claims which could have been raised either on direct appeal or in previous MAR are

procedurally barred absent a showing of good cause and actual prejudice or a

miscarriage of justice). Therefore, any claim in Petitioner’s RJA MAR or ARJA

AMAR would be procedurally defaulted on federal habeas review. See Nickerson,

971 F.2d at 1127 (“A federal court may not address the merits of a habeas petition

when the state court’s denial of a petition for collateral relief rested on [an]

independent and adequate state law ground of procedural default.”).

      In sum, Petitioner’s RJA claims are not cognizable in this Court, and any

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federal constitutional claims Petitioner filed via his RJA MAR and ARJA AMAR are

procedurally barred.5 As such, nothing in Petitioner’s MAR proceeding, filed

pursuant to the RJA provides a basis to stay this proceeding.

                                     Conclusion

      For the reasons stated above, this Court should deny Petitioner’s Motion to

Stay and Abey his § 2254 petition.




      The ARJA clarifies that state procedures for filing post-conviction claims via
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MARs, which include procedural bars, undoubtedly apply to claims purportedly
brought under the ARJA. 2012 N.C. Sess. Law 136, sec. 5.
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 Respectfully submitted, this the 11th day of March, 2013.



                          ROY COOPER
                          ATTORNEY GENERAL

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             IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

JEFFREY CLAYTON KANDIES )
                              )
                  Petitioner, )
                              )
        v.                    )                FILE NO. 1:99CV00764
                              )
KEITH LASSITER, Warden,       )
Central Prison                )
Raleigh, North Carolina,      )
                              )
                 Respondent.  )

                        CERTIFICATE OF SERVICE

     I hereby certify that on this day, March 11, 2013, I electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF system, which

will send notification of such filing to the following ATTORNEYS FOR

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                                              Danielle Marquis Elder

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